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                                                                                          United States District Court
                                                                                            Southern District of Texas

                                                                                               ENTERED
                        IN THE UNITED STATES DISTRICT COURT                                   March 17, 2017
                                                                                            David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DONALD HUGHES,                                     §
                                                   §
                        Plaintiff,                 §
                                                   §
VS.                                                §    CIVIL ACTION NO. H-17-173
                                                   §
UNITED PROPERTY & CASUALTY                         §
INSURANCE COMPANY, et al.                          §
                                                   §
                        Defendants.                §

                                        REMAND ORDER

        United Property & Casualty Insurance Company filed a notice of removal of this insurance

dispute on January 19, 2017, based on federal diversity jurisdiction. United alleged the improper

joinder of Rockland Insurance Agency, the nondiverse insurance sales agency defendant whose

presence in the case, if proper, would defeat federal diversity jurisdiction.

        The test for improper joinder is whether the defendant has demonstrated that “there is no

reasonable basis for the district court to predict that the plaintiff might be able to recover against an

in-state defendant.” Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004) (en banc).

To resolve this issue, a court “may conduct a Rule 12(b)(6)-type analysis” and must “apply the

federal pleading standard embodied in that analysis.” Int’l Energy Ventures Mgmt., L.L.C. v. United

Energy Grp., Ltd., 818 F. 3d 193, 207-208 (5th Cir. 2016).

        United has not made the necessary demonstration, for the reasons stated in detail on the

record at the Rule 16 initial conference hearing on March 17, 2017, after counsel presented

arguments on the motion. (Docket Entry No. 11). As explained on the record, Mr. Hughes’s

petition sufficiently alleged specific conduct by Rockland, the nondiverse insurance agency, to
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support a plausible inference of Mr. Hughes’s right to recover against it under the asserted Texas

insurance causes of action, and of a reasonable possibility of recovery under these causes of action.

United has not otherwise established a basis for federal jurisdiction, making remand proper. See

Boone v. Citigroup, Inc., 416 F.3d 382, 388 (5th Cir. 2005); Sanders v. Sentry Ins. A Mut. Co., Civil

No. 16-164, Docket Entry No. 8 (N.D. Tex. Aug. 23, 2016).

       This case is remanded to the 434th Judicial District Court of Ford Bend County, Texas.

               SIGNED on March 17, 2017, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        Chief United States District Judge




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